OPINION — AG — HOUSE BILL NO. 580, 25TH LEG., WHICH PROVIDES "PERSONAL PROPERTY WHICH (A) IS MOVING IN INTERSTATE COMMERCE THROUGH OR OVER THE TERRITORY OF THE STATE OF OKLAHOMA, OR (B) WAS CONSIGNED FROM OUTSIDE THE STATE OF OKLAHOMA, FOR STORAGE, OR FOR ASSEMBLY, IN TRANSIT TO A FINAL DESTINATION (WHETHER SPECIFIED WHEN TRANSPORTATION BEGINS OR AFTERWARDS) WHICH IS ALSO OUTSIDE THE STATE OF OKLAHOMA, SHALL BE DEEMED NOT TO HAVE ACQUIRED THE SITUS IN THE STATE OF OKLAHOMA FOR PURPOSE OF AD VALOREM TAXATION." WOULD NOT BE UNCONSTITUTIONAL WHEN APPLIED TO PERSONAL PROPERTY ACTUALLY "MOVING IN INTERSTATE COMMERCE" OR ACTUALLY "IN TRANSIT" THROUGH THE STATE. CITE: 68 O.S.H. 15.6, ARTICLE V, SECTION 50 (JAMES C. HARKIN)